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UNITED STATES COURT OF APPEALS F IL E D

 

FOR THE NINTH CIRCUIT Oct 15 2007
FOR PUBLICATION CHR A OAT Sr ates
EDWARD JONES; et al., | No. 04-55324
Plaintiffs - Appellants, D.C. No. CV-03-01142-ER
| Central District of California,
V. Los Angeles

CITY OF LOS ANGELES; et al.,
ORDER
Defendants - Appellees.

 

 

Before: RYMER and WARDLAW, Circuit Judges, and REED,’ District Judge.

The parties have filed a joint motion informing us that they have settled this
action and seeking dismissal of the appeal, remand and withdrawal of our opinion,
reported at 444 F.3d 1118 (9th Cir. 2006). Granting the motion in full, we dismiss
this appeal as moot, vacate our opinion in Jones v. City of Los Angeles, 444 F.3d
1118 (9th Cir. 2006), and remand the action to the district court for further
proceedings consistent with this Order.

IT IS SO ORDERED.

   

 

The Honorable Edward C. Reed, Jr., Senior United i states Bistrict t.
Judge for the District of Nevada, sitting by designation.

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